Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 1 of 9




       EXHIBIT B
Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 2 of 9
Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 3 of 9
Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 4 of 9
Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 5 of 9
Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 6 of 9
Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 7 of 9
Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 8 of 9
Case 1:21-cv-03068-BAH Document 40-3 Filed 07/26/22 Page 9 of 9
